Case 8:22-cv-00310-KKM-AEP Document 20 Filed 05/18/22 Page 1 of 6 PageID 87
Case 8:22-cv-00310-KKM-AEP Document 20 Filed 05/18/22 Page 2 of 6 PageID 88
Case 8:22-cv-00310-KKM-AEP Document 20 Filed 05/18/22 Page 3 of 6 PageID 89
Case 8:22-cv-00310-KKM-AEP Document 20 Filed 05/18/22 Page 4 of 6 PageID 90
Case 8:22-cv-00310-KKM-AEP Document 20 Filed 05/18/22 Page 5 of 6 PageID 91
Case 8:22-cv-00310-KKM-AEP Document 20 Filed 05/18/22 Page 6 of 6 PageID 92
